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Farm 2400A (12/15) Check one
Cl Presumption of Undue Hardship
M No Presumption of Undue Hardship

See Debtor's Statement in Support of Reaffirmation,
Part H below, to determine which box to check.

 

 

 

UNITED STATES BANKRUPTCY COURT
Southern District of Florida

Inre YANIA CASTRO BUSTAMANTE, CASE NO: 19-24100-RAM
CHAPTER 7

Debtor
REAFFIRMATION DOCUMENTS

Name of Creditor: Penny Mac Loan Servicing, LLC

f) Check this box if Creditor is a Credit Union

PART I. REAFFIRMATION AGREEMENT

Reaffirming a debt is a serious financial decision. Before entering into this Reaffirmation
Agreement, you must review the important disclosures, instructions, and definitions found in Part V of

this form.

A. Brief description of the original agreement being reaffirmed: Mortgage
For example, aitta laan

B. AMOUNT REAFFIRMED: $114,448.95 (Includes $250 reaffirmation fee)
The Amount Reaffinned is the entire amount that you are agreeing to pay. This may include
unpaid principal, interest, and fees and costs (if any) arising an or before 9/16/2020 _;
which is the date of the Disclosure Statement portion of this form (Part V).
See the definition of “Amount Reaffirmed” in Part V, Section C below.

C, The ANNUAL PERCENTAGE RATE applicable to the Amount Reaffirmed is 4.75%.
See definition of “Annual Percentage Rate” in Part V, Section C below.
This is a (check one) MM Fixed rate O Variable rate

If the Joan has a variable rate, the future interest rate may increase or decrease from the Annual Percentage Rate
disclosed here.
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Form 2400.4, Reaffirmation Documents Page 2
D. Reaffirmation Agreement Repayment Terms (check and complete one):

wy $828.59 per month for 322 months starting on 10/01/2020.

g Describe repayment terms, including whether future payment amount(s) may be different from

the initial payment amount.

 

 

E. Describe the collateral, if any, securing the debt:

Description: 11715 SW 18th St. Unit 206, Miami, FL 33175
Current Market Value $ 140,943.00

F. Did the debt that is being reaffirmed arise from the purchase of the collateral described above?
0 Yes. What was the purchase price for the collateral? $
CO No. What was the amount of the original loan? $120,000.00

G. Specify the changes made by this Reaffirmation Agreement to the most recent credit terms on the reaffirmed
debt and any related agreement:

Terms as of the Terms After
Date of Bankruptcy Reaffirmation
Balance due (including
fees and costs) $ 115,706.68 (UPB) $ 114,448.95 (Includes $250 reaffirmation fee)
Annual Percentage Rate 475% 4,75 %
Monthly Payment $ 828.59 $828.59

H. © Check this box if the creditor is agreeing to provide you with additional future credit in connection with
this Reaffirmation Agreement. Describe the credit limit, the Annual Percentage Rate that applies to
future credit and any other terms on future purchases and advances using such credit:

 

 

PARTI. DEBTOR’S STATEMENT IN SUPPORT OF REAFFIRMATION AGREEMENT
A. Were you represented by an attorney during the course of negotiating this agreement?
Check one. ates oO No

B. Is the creditor a credit union?

Check one. Yes ohio
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Form 24004, Reaffirmation Documents Page 3

C, If your answer to EITHER question A. or B. above is “No,” complete |. and 2. below.
1. Your present monthly income and expenses are:

a. Monthly income from all sources after payroll deductions
(take-home pay plus any other income)

$ 2025.50

b. Monthly expenses (including all reaffirmed debts except

this one) $RISY OF

c. Amount available to pay this reaffirmed debt (subtract b. from a.) § SAR/S
d. Amount of monthly payment required for this reaffirmed debt § 2.5 7

If the monthly payment on this reaffirmed debt (line ad) is greater than the amount you have available to
pay this reaffirmed debt (line c), you must check the box at the top of page one that says “Presumption
of Undue Hardship.” Otherwise, you must check the box at the top of page one that says “No
Presumption of Undue Hardship.”

You believe that this reaffirmation agreement will not impose an undue hardship on you or your
dependents because:

to

Check one of the two statements below, if applicable:

na You can afford to make the payments on the reaffirmed debt because your monthly income is
greater than your monthly expenses even after you include in your expenses the monthly
payments on all debts you are reaffirming, including this one.

0 You can afford to make the payments on the reaffirmed debt even though your monthly income
is less than your monthly expenses after you include in your expenses the monthly payments on
all debts you are reaffirming, including this one, because:

 

 

Use an additional page if needed for a full explanation.

D. If your answers to BOTH questions A. and B. above were “Yes,” check the following
statement, if applicable:

m@ You believe this Reaffirmation Agreement is in your financial! interest and you can afford to
make the payments on the reaffirmed debt.

Also, check the box at the top of page one that says “No Presumption of Undue Hardship.”
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Vora 24904, Reaffirmation Deeuments Page 4
PART HI]. CERTIFICATION BY DEBTOR(S) AND SIGNATURES OF PARTIES
Thereby certify that:

(1) T agree 1a reaffirm the debt described above.

(2) Before signing this Realfirmation Agreement, | read the terms disclosed in this Reaffirmation
Agreement (Part 1) and the Disclosure Statement, Instructions and Definitions included in Part V
below:

(3) The Debtor's Statement in Support of Reaffirmation Agreement (Part I] above) is true and
complete;

(4) Tam entering into this agreement \oluntarily and am fully informed of my rights and
responsibilities; and

15) Lhave received 2 copy of this completed and signed Reaffirmation Documents form.

SIGNATURE(S) (If this is a joint Reaffirmation Agreement, both debtors must sign.):

Date ope fae Signature Le 7.

a DePior

 

Joint Dehlor, if any

Date Signature

Reaffirmation Agreement Terms Accepted by C eater:

 

ig , hj
Creditor Penny Mac J oan Servicing, LLC. hil tL , LO hs fe fp M1 Lit &(
nt rizdd Representative . Ades / 9 BD Le
7 Sifyhher Loan Services, LLC Fad pA iy f 4

 

Print Name of Representative

 

PART IV, CERTIFICATION BY DEBTOR'S ATPORNEY (IF ANY)
To be filed only if the attorney represented the debtor during the course of negotiating this agreemem.
I hereby certify that: (1) this agreement represents a fully informed and voluntary agreement by the debior: (2)

this agreement does not impose an undue hardship on the debtor or any dependent of the debtor; and (3) I have
fully advised the debtor of the legal effect and consequences of this agreement and any default under this

agreement,

© A presumption of undue hardship has been established with respect to this agreement. In my opinion,
however, the debtor is able to inake the required payment.

Check box. ifthe prestenption of undue hardship bax is checked on page 1 and the creditor is not a Credit

Ueion,
: & 9 ibiwO pee.
Date tf oar, Signature of Debtor's anemwst LPUWAle’ 0D V/E0S >)
de ie Cus bate.

Print Name of Debtor’s Attorney bicded: Corina = Amecioa™ ee MGS

behalf

 
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Form 2400A, Reaffirmation Documents Page 3

PART V. DISCLOSURE STATEMENT AND INSTRUCTIONS TO DEBTOR(S)

Before agreeing to reaffirm a debt, review the terms disclosed in the Reaffirmation Agreement (Part I
above) and these additional important disclosures and instructions,

Reaffirming a debt is a serious financial decision. The law requires you to take certain steps to make sure the
decision is in your best interest. If these steps, which are detailed in the Instructions provided in Part V, Section
B below, are not completed, the Reaffirmation Agreement is not effective, even though you have signed it.

A, DISCLOSURE STATEMENT

_ What are your obligations if you reaffirm a debt? A reaffirmed debt remains your personal legal
obligation to pay. ‘Your reaffirmed debt is not discharged in your bankruptcy case. That means that if
you default on your reaffirmed debt after your bankruptcy case is over, your creditor may be able to take
your property or your wages. Your obligations will be determined by the Reaffirmation Agreement,
which may have changed the terms of the original agreement. If you are reaffirming an open end credit
agreement, that agreement or applicable law may permit the creditor to change the terms of that
agreement in the future under certain conditions.

2. Are you required to enter into a reaffirmation agreement by any law? No, you are not required to
reaffirm a debt by any law. Only agree to reaffirm a debt if it is in your best interest. Be sure you can

afford the payments that you agree to make.

What if your ereditor has a security interest or lien? Your bankruptcy discharge does not eliminate
any lien on your property. A “‘lien’’ is often referred to as a security interest, deed of trust, mortgage, or
security deed. The property subject to a lien is often referred to as collateral. Even if you do not
reaffirm and your personal liability on the debt is discharged, your creditor may still have a right under
the lien to take the collateral if you do not pay or default on the debt. If the collateral is persona]
property that is exempt or that the trustee has abandoned, you may be able to redeem the item rather
than reaffirm the debt. To redeem, you make a single payment to the creditor equal to the current value

of the collateral, as the parties agree or the court determines,

hao

4. How soon do you need to enter into and file a reaffirmation agreement? If you decide to enter into
a reaffirmation agreement, you must do so before you receive your discharge. After you have entered
into a reaffirmation agreement and all parts of this form that require a signature have been signed, either
you or the creditor should file it as soon as possible. The signed agreement must be filed with the court
no later than 60 days after the first date set for the meeting of creditors, so that the court will have time
to schedule a hearing to approve the agreement if approval is required. However, the court may extend

the time for filing, even after the 60-day period has ended,

5. Can you cancel the agreement? You may rescind (cance!) your Reaffirmation Agreement at any time
before the bankruptcy court enters your discharge, or during the 60-day period that begins on the date
your Reaffirmation Agreement is filed with the court, whichever occurs later. To rescind (cancel) your
Reaffirmation Agreement, you must notify the creditor that your Reaffirmation Agreement is rescinded
(or canceled). Remember that you can rescind the agreement, even if the court approves it, as long as
you rescind within the time allowed.
Form 2400A, Realfirmation Documents

6.

tr

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Page G

When will this Reaffirmation Agreement be effective?

a. If you were represented by an attorney during the negotiation of your Reaffirmation
Agreement and

i. if the creditor is not a Credit Union, your Reaffirmation Agreement becomes effective when
it is filed with the court unless the reaffirmation is presumed to be an undue hardship, Ifthe
Reaffirmation Agreement is presumed to be an undue hardship, the court must review it and may
set a hearing to determine whether you have rebutted the presumption of undue hardship.

il. if the creditor is a Credit Union, your Reaffirmation Agreement becomes effective when it
is filed with the court,

b. If you were not represented by an attorney during the negotiation of your Reaffirmation
Agreement, the Reaffirmation Agreement will not be effective unless the court approves it. To have the
court approve your agreement, you must filea motion, See Instruction 5, below. The court will notify
you and the creditor of the hearing on your Reaffirmation Agreement. You must attend this hearing, at
which time the judge will review your Reaffirmation Agreement. If the judge decides that the
Reaffirmation Agreement is in your best interest, the agreement will be approved and will become
effective. However, if your Reaffirmation Agreement is for a consumer debt secured by a mortgage,
deed of trust, security deed, or other lien on your real property, like your home, you do not need to file a
motion or get court approval of your Reaffirmation Agreement.

What if you have questions about what a creditor can do? If you have questions about reaffirming a
debt or what the law requires, consult with the attorney who helped you negotiate this agreement. If you
do not have an attorney helping you, you may ask the judge to explain the effect of this agreement to

you at the hearing to approve the Reaffirmation Agreement. When this disclosure refers to what a
creditor “may” do, it is not giving any creditor permission to do anything. The word “may” is used to
tell you what might occur if the law permits the creditor to take the action.

INSTRUCTIONS

Review these Disclosures and carefully consider your decision to reaffirm. If you want to reaffirm,
review and complete the information contained in the Reaffirmation Agreement (Part | above). If your
case is a joint case, both spouses must sign the agreement if both are reaffirming the debt.

Complete the Debtor’s Statement in Support of Reaffirmation Agreement (Part IT above). Be sure that
you can afford to make the payments that you are agreeing to make and that you have received a copy of
the Disclosure Statement and a completed and signed Reaffirmation Agreement.

If you were represented by an attorney during the negotiation of your Reaffirmation Agreement, your
attorney must sign and date the Certification By Debtor’s Attorney (Part IV above).

You or your creditor must file with the court the original of this Reaffirmation Documents packet and a
completed Reaffirmation Agreement Cover Sheet (Official Bankruptcy Form 427),

If you are not represented by an attorney, you must also complete and file with the court a separate
document entitled “Motion for Court Approval of Reaffirmation Agreement” unless your Reaffirmation
Agreement is for a consumer debt secured by a lien on your real property, such as your home. You can

use Form 2400B to do this.
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Form 240GA, Reafiirmation Documents Page 7

C. DEFINITIONS

1. “Amount Reaffirmed” means the total amount of debt that you are agreeing to pay
(reaffirm) by entering into this agreement. The total amount of debt includes any unpaid
fees and costs that you are agreeing to pay that arose on or before the date of disclosure,
which is the date specified in the Reaffirmation Agreement (Part J, Section B above).
Your credit agreement may obligate you to pay additional amounts that arise after the
date of this disclosure. You should consult your credit agreement to determine whether
you are obligated to pay additional amounts that may arise afler the date of this

disclosure.

2. “Annual Percentage Rate” means the interest rate on a loan expressed under the rules
required by federal law. The annual percentage rate (as opposed to the “stated interest
rate”) tells you the full cost of your credit including many of the creditor’s fees and
charges. You will find the annual percentage rate for your original agreement on the
disclosure statement that was given to you when the loan papers were signed or on the
monthly statements sent to you for an open end credit account such as a credit card.

3. “Credit Union” means a financial institution as defined in 12 U.S.C, §
461 (b)(1)(A)(iv). It is owned and controlled by and provides financial services to its
members and typically uses words like “Credit Union” or initials like “C.U.” or
“FC.U.” in its name.
